Case 10-12207-1-rel   Doc 310 Filed 04/11/11 Entered 04/11/11 16:04:40   Desc
                        Main Document     Page 1 of 19
Case 10-12207-1-rel   Doc 310 Filed 04/11/11 Entered 04/11/11 16:04:40   Desc
                        Main Document     Page 2 of 19
Case 10-12207-1-rel   Doc 310 Filed 04/11/11 Entered 04/11/11 16:04:40   Desc
                        Main Document     Page 3 of 19
Case 10-12207-1-rel   Doc 310 Filed 04/11/11 Entered 04/11/11 16:04:40   Desc
                        Main Document     Page 4 of 19
Case 10-12207-1-rel   Doc 310 Filed 04/11/11 Entered 04/11/11 16:04:40   Desc
                        Main Document     Page 5 of 19
Case 10-12207-1-rel   Doc 310 Filed 04/11/11 Entered 04/11/11 16:04:40   Desc
                        Main Document     Page 6 of 19
Case 10-12207-1-rel   Doc 310 Filed 04/11/11 Entered 04/11/11 16:04:40   Desc
                        Main Document     Page 7 of 19
Case 10-12207-1-rel   Doc 310 Filed 04/11/11 Entered 04/11/11 16:04:40   Desc
                        Main Document     Page 8 of 19
Case 10-12207-1-rel   Doc 310 Filed 04/11/11 Entered 04/11/11 16:04:40   Desc
                        Main Document     Page 9 of 19
Case 10-12207-1-rel   Doc 310 Filed 04/11/11 Entered 04/11/11 16:04:40   Desc
                        Main Document    Page 10 of 19
Case 10-12207-1-rel   Doc 310 Filed 04/11/11 Entered 04/11/11 16:04:40   Desc
                        Main Document    Page 11 of 19
Case 10-12207-1-rel   Doc 310 Filed 04/11/11 Entered 04/11/11 16:04:40   Desc
                        Main Document    Page 12 of 19
Case 10-12207-1-rel   Doc 310 Filed 04/11/11 Entered 04/11/11 16:04:40   Desc
                        Main Document    Page 13 of 19
Case 10-12207-1-rel   Doc 310 Filed 04/11/11 Entered 04/11/11 16:04:40   Desc
                        Main Document    Page 14 of 19
Case 10-12207-1-rel   Doc 310 Filed 04/11/11 Entered 04/11/11 16:04:40   Desc
                        Main Document    Page 15 of 19
Case 10-12207-1-rel   Doc 310 Filed 04/11/11 Entered 04/11/11 16:04:40   Desc
                        Main Document    Page 16 of 19
Case 10-12207-1-rel   Doc 310 Filed 04/11/11 Entered 04/11/11 16:04:40   Desc
                        Main Document    Page 17 of 19
Case 10-12207-1-rel   Doc 310 Filed 04/11/11 Entered 04/11/11 16:04:40   Desc
                        Main Document    Page 18 of 19
Case 10-12207-1-rel   Doc 310 Filed 04/11/11 Entered 04/11/11 16:04:40   Desc
                        Main Document    Page 19 of 19
